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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                      WESTERN DIVISION
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 12   SOVEREIGN ASSET                              )   Case No.: 2:18-cv-09360 FMO (DFMx)
      MANAGEMENT, INC.,                            )   Hon. Fernando M. Olguin
 13                                                )
                            Plaintiff,             )   [PROPOSED] ORDER RE: JOINT
 14                                                )   STIPULATION TO CONTINUE
                 v.                                )   JANUARY 31, 2019 SCHEDULING
 15                                                )   CONFERENCE
      HEALTH NET LIFE INSURANCE                    )
 16   COMPANY,                                     )
                                                   )   Scheduling Conference
 17                         Defendant.             )   Current Date: January 31, 2019
                                                   )   Proposed Date: February 14, 2019
 18                                                )
                                                   )
 19                                                )
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 21         Upon consideration of the parties’ stipulation, and good cause showing, IT IS
 22   HEREBY ORDERED that:
 23         1.        The Scheduling Conference in this case shall be continued from January
 24   31, 2019 to February 14, 2019, at 10:00 a.m.
 25         2.        The deadline for parties’ counsel to meet and confer in person shall be
 26   continued from January 10, 2019 to January 24, 2019.
 27         3.        The Joint Report deadline shall likewise be continued from January 17,
 28   2019 to January 31, 2019.

        [PROPOSED] ORDER RE: JOINT STIPULATION TO CONTINUE JANUARY 31, 2019
                              SCHEDULING CONFERENCE
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  1         4.    The hearings on Health Net’s Motion to Dismiss and Health Net’s
  2   Special Motion to Strike Allegations in Plaintiff’s Complaint (Anti-Slapp Motion)
  3   (“Motion Hearings”) shall be continued from January 31, 2019 to February 14, 2019.
  4         5.    The filing of Plaintiff’s oppositions to Health Net’s Motions shall be
  5   continued to January 24, 2019, or 21 days from the date set by the Court for the
  6   Motion Hearings.
  7         6.    The filing of Health Net’s reply briefs in support of its Motions shall be
  8   continued to January 31, 2019, or 14 days from the date set by the Court from the
  9   Motion Hearings.
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 11         IT IS SO ORDERED.
 12
 13   DATED:                                       ______________________________
 14                                                Fernando M. Olguin
                                                   UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER RE: JOINT STIPULATION TO CONTINUE JANUARY 31, 2019
                              SCHEDULING CONFERENCE
